    Case 2:21-cv-03046-ER Document 139 Filed 08/30/22 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHESTNUT STREET CONSOLIDATED, LLC       :

      v.                                :No.: 21-CV-03046(ER)

BAHAA DAWARA                            :

      And                               :

IMAD DAWARA                             :

      And                               :

FATAN DAWARA                            :
a/k/a FATEN DAWARA

      And                               :

MAISAA DAWARA                           :

      And                               :

MIRVAT DAWARA                           :

      And                               :

ABEER NAIM                              :

      And                               :

HITHAM ALBAROUKI                        :
a/k/a HAITHAM ALBAROUKI

      And                               :

DOE INDIVIDUALS (1-10),                 :

      And                               :

DOE ENTITIES (1-10)                     :

            Defendants.
      Case 2:21-cv-03046-ER Document 139 Filed 08/30/22 Page 2 of 4




                                 NOTICE OF APPEAL

TO THE CLERK’S OFFICE:

       Notice is hereby given that Defendants, Fatan Dawara a/k/a Faten Dawara,

Maisaa Dawara, Mirvat Dawara, Abeer Naim and Hitham Albarouki a/k/a Haitham

Albarouki, in the above-named case, hereby appeal to the United States Court of Appeals

for the Third Circuit from the Order entering judgment in favor of Plaintiff and against

Defendants on Count I of Plaintiff’s Complaint of the Honorable Eduardo Robreno,

U.S.D.J., entered in this action on August 3, 2022. (D.E. 137) and the judgment entered

in this action on August 3, 2022 (D.E. 138).

       Notice is hereby given that Defendants, Fatan Dawara a/k/a Faten Dawara,

Maisaa Dawara, Mirvat Dawara, Abeer Naim and Hitham Albarouki a/k/a Haitham

Albarouki, in the above-named case, hereby appeal to the United States Court of Appeals

for the Third Circuit from the Order denying the Motion to Dismiss, of the Honorable

Eduardo Robreno, U.S.D.J., entered in this action on November 12, 2021. (D.E. 60).

                                      Respectfully submitted,

                                      LAW OFFICES OF JONATHAN J. SOBEL



                                      s/JONATHAN J. SOBEL, ESQ.
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                                      Attorney for Defendants

Date: August 30, 2022
    Case 2:21-cv-03046-ER Document 139 Filed 08/30/22 Page 3 of 4




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHESTNUT STREET CONSOLIDATED, LLC       :

      v.                                :No.: 21-CV-03046(ER)

BAHAA DAWARA                            :

      And                               :

IMAD DWARA                              :

      And                               :

FATAN DAWARA                            :
a/k/a FATEN DAWARA

      And                               :

MAISAA DAWARA                           :

      And                               :

MIRVAT DAWARA                           :

      And                               :

ABEER NAIM                              :

      And                               :

HITHAM ALBAROUKI                        :
a/k/a HAITHAM ALBAROUKI

      And                               :

DOE INDIVIDUALS (1-10),                 :

      And                               :

DOE ENTITIES (1-10)                     :

            Defendants.
      Case 2:21-cv-03046-ER Document 139 Filed 08/30/22 Page 4 of 4




                           PROOF OF FILING / SERVICE

       I, JONATHAN J. SOBEL, ESQUIRE, attorney for Defendants, hereby certify

that I am duly authorized to make this certification; that on August 29, 2022, I

electronically filed the Notice of Appeal and caused it to electronically mailed, addressed

as follows:

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       Attorney for Defendants, Bahaa Dawara, Imad Dawara

                                      Respectfully submitted,

                                      LAW OFFICES OF JONATHAN J. SOBEL



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                                      Attorney for Defendants

Date: August 30, 2022
